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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION

    MONUMENT PEAK                     §
    VENTURES, LLC                     §
      Plaintiff,                      §
                                      §
    v.                                §    CIV. A. NO. 2:21-cv-0345-JRG-RSP
                                      §
                                      §
    XEROX CORPORATION                 §
      Defendant.                      §    JURY TRIAL DEMANDED




                              EXHIBIT 29
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                                                                      Filed     | LinkedIn
                                                                              12/03/21     Page 2 of 29 PageID #: 662
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                                      People             Criteria First 1             Connections                 All filters    Reset


                                    5 results


                                                 Doug Crews • 3rd+
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                                                 President & Consultant at Criteria First, Inc.
                                                 Carrollton, TX


                                                 Chris Majefski • 3rd+
                                                                                                                          Message
                                                 Manager ECMS at Steward Healthcare
                                                 Richardson, TX


                                                 Russell Kent • 3rd+
                                                                                                                          Message
                                                 Solutions Developer at Criteria First
                                                 Richardson, TX


                                                 LinkedIn Member
                                                 President at Criteria First, Inc.
                                                 Carrollton, TX


                                                 Carol Sereda • 3rd+
                                                                                                                           Connect
                                                 Order Administrator at Criteria First, Inc.
                                                 Carrollton, TX



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                                                                                                         Ad                                    :Page 1 of 28
https://www.linkedin.com/search/results/people/?currentCompany=%5B"801199"%5D&origin=COMPANY_PAGE_CANNED_SEARCH&sid=(D!                                            1/2
11/18/21, 10:42 PM        Case 2:21-cv-00345-JRG-RSP Document 24-29 (47) Search
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https://www.linkedin.com/search/results/people/?currentCompany=%5B"801199"%5D&origin=COMPANY_PAGE_CANNED_SEARCH&sid=(D!                                                   2/2
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                                                 Overview
                                                 Managing content for knowledge sharing. Electronic content management and
                                                 conversion of paper document to electronic knowledge.

                                                 Website
                                                 http://www.criteriafirst.com

                                                 Company size
                                                                                                                                             Exhibit 29
                                                 2-10 employees
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                                                                                                 Home   My Network   Jobs   Messaging   Notifications   Me
                                                 Headquarters
                                                 Carrollton, TX




                                                 Locations (1)
                                                   Primary
                                                 3303 Greenglen Cir., Carrollton, TX 75007, US
                                                 Get directions




                                                                                                                                            Exhibit 29
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https://www.linkedin.com/company/criteria-first/about/                                                                                                       2/3
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                                                                      (/)




Methodology

Criteria First adheres to the concept of single-source reusable information. This entails using open, standard formats to encourage data
exchanges among various systems that support cross-functional goals. We gravitate toward simple, inexpensive, effective tools to enable
your staff to create, manage, and share content with each other and your customers and partners. Information should be served to foster
collaboration among your workers and interoperation among your systems. We have chosen vendors with products that often layer or
compliment one another. If your requirements don't match their specs, we'll find other products that will or refer you to other solution
providers that can better serve you.




Knowledge & Work Practice Management

Recognizing the growing importance of human capital, Knowledge Management intensifies and improves the use of a company's most valuable
asset. We prefer to describe it as Managing for Knowledge - developing an environment that fosters the continuous creation, collection,
transfer, use, and re-use of knowledge in support of business value and performance. Our methodology involves:

  Establish knowledge initiatives by defining the vision, strategy, competencies and the knowledge culture.

  Assess existing knowledge resources, map process flows, and identify communities of practice.

  Design processes for efficient and effective knowledge protection, transfer, and re-use across organizational boundaries.

  Design and implement technology architectures for knowledge management that include portals, search facilities, and information mining
                                                                                                                           Exhibit 29
capabilities.
                                                                                                                          :Page 6 of 28
Technology often isn't the 2:21-cv-00345-JRG-RSP
                    Case   whole answer, but just an enabler. You may
                                                       Document       alsoFiled
                                                                  24-29   benefit from improving
                                                                                12/03/21   Page 8the
                                                                                                   of manner in which
                                                                                                      29 PageID       your organization's
                                                                                                                 #: 668
members interact with one another. Clearly defined shared goals, incentives, and changes in the way they perceive one another may bring
about greater trust, cooperation, and collaboration.



Dun & Bradstreet Past Performance Evaluation

This document provides insight to our commitment to providing excellent service by showing the ratings given to us by our customers. D&B designs and publishes
such surveys so that companies can gain insight into their weaknesses and address them for future improvements. This is the first of our surveys and the results
were so gratifying that we've decided to share them with you. Here are our survey results. (/articles/DandB_Past_Performance_Review_2011_14-524-2140.pdf)



Kudos - Compliments to Criteria First from Customers and Partners

We haven't been very good at repeating all the nice things our customers say about us, but that should change. We get a lot of good feedback via email and on
the phone, so here are a few things we thought bear repeating.

Read our kudos (/index.php/21-spotlight/64-kudos).


Key Staff

Brief profiles so you can get to know us. (/index.php/key-staff/72)



Others we recommend for Business Services

Publication Printing (http://pubprinting.com/) - high quality printing with design and marketing expertise

Cool School Studios (http://www.coolschoolstudios.com/) - Supplies and essentials for students from K1-12 through college




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                                                                (/)




                                                    Criteria First, Inc.
                                                   3303 Greenglen Cir.
                                                   Carrollton, TX 75007
                                                   972-492-4428 phone
                                                    866-843-1741 fax

                                                        (/CriteriaFirst.vcf)
                                                               vcard




                                               Let us know how we can help.

Sales & Consulting (https://mail.google.com/mail/?view=cm&fs=1&tf=1&to=sales@criteriafirst.com&su=Tell me more about ...)

Support & Information (https://mail.google.com/mail/?view=cm&fs=1&tf=1&to=info@criteriafirst.com&su=Tell me more about ...)

            Criteria First Credit Application (http://dev.avidoffice.com:99/lfserver/Criteria_First_Credit_Application)



                                     Work with us if you're tired of dealing with others'
                                          Customer Service Prevention Centers




                                                                                                                             Exhibit 29
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                                                                672




                                                                               (/)




  Archival preserves knowledge from the past.
  Cunieform writing with a stylus in mud baked 6000 years ago.




                                                                    Welcome to Criteria First

We were founded in 2002 to provide cost-effective expertise to knowledge management and archival tools and the workflow options you
need to make it all work smoothly. If you are interested in great document management and data capture and conversion at reasonable
prices, you've come to the right place. Be sure to link over to our online store with software and scanners to help you automate the kinds
of jobs people hope to avoid doing themselves. It feels good to find bargains that makes everyone more fully enjoy their jobs and frees
them to think and contribute more.



                                                  Criteria First online store for document and process managers          Exhibit 29
                                                                                                                     :Page 11 of 28
We're now able to serve  you2:21-cv-00345-JRG-RSP
                       Case   24/7 with best-value products including
                                                        Document      capture
                                                                    24-29     and12/03/21
                                                                            Filed conversionPage
                                                                                             software for29
                                                                                                  13 of   corporate
                                                                                                            PageID knowledge
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                                                                    673
management and production document scanners with the best prices you're likely to see anywhere. Our scanner feature comparisons are
the best you'll find anywhere.



                                                               (http://www.criteriafirstware.com/)




                          https://www.criteriafirstware.com (https://www.criteriafirstware.com/)


                      Xerox DocuShare 7.5 consultative sales, service, and excellent support!
         Get more details on DocuShare 7.5 here or schedule an upgrade with us. (https://www.criteriafirstware.com/xerox-docushare-c7/)



                         Transform Accounts Payable Processes with Intelligent Automation
                                                Thursday, Nov 18, 2021 10:00 AM - 10:30 AM CST




(https://www.criteriafirstware.com/WebinarRegistration-28.html)You didn’t hire your accounts payable team just for data entry, chasing down
invoices, and manually matching POs. Learn how Automate Intelligent Capture, our intelligent document processing solution, can take the
pain out of data extraction, classification and routing to achieve smarter AP processes.

Whether your data is structured (from a spreadsheet, database, or portal), or unstructured (from emails, forms, and invoices), we’ll show
you how an intelligent AP automation solution can help you:

   Capture invoices the minute they arrive
   Automatically classify documents and separate your invoices from supporting documents
   Extract header, footer and line-item detail data and share with your AP or ERP solution
   Electronically route invoices for processing and approval
   See what invoices are queued for processing and apply strict controls to maintain compliance.

Join us to learn how you can transform your AP processes to save your team hours of manual work, cut back on errors, and save money
by avoiding duplicate, late or overcharged invoices.                                                                   Exhibit 29
                                                                                                                         :Page 12 of 28
                                         ABBYY FineReader
                      Case 2:21-cv-00345-JRG-RSP            PDF Filed
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                                                                      of the Year
                                                                              Page 14 of 29 PageID #:
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Set your reminders to order ABBYY FineReader PDF Standard for PC or Mac between November 22nd and 30th. The price will be
reduced by 60%. It's accuracy and versatility for conversions is terrific. I've found it does a much better job of utilizing my scanner
drivers than Kofax Power PDF Advanced or Nitro Pro. Our links to these sales will be found on our main site under On Sale for the duration
of the sale. This sale includes ...

    ABBYY FineReader PDF 15 Standard (full version)
    ABBYY FineReader PDF for Mac (full version)

Here is your shortcut to savings (/index.php/onsale), but they'll only show during the sale. The promo codes are included in the links.




(/index.php/onsale)




                                                                          (http://www.avidoffice.com/docushare)


Interested in having DocuShare hosted for your organization? Rely on our expertise in setting up a new DocuShare server for you on an
expertly managed cloud server and free your time for new challenges. Call for discussion, comparison, guidance, and pricing.

 DocuShare Flex is available through Criteria First! (https://www.criteriafirstware.com/xerox-docushare-flex-
                                                      c49/)
                          Cost is dependent on features, number of users, and size of your document repository.
                                                                                                                        Exhibit 29
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  Write to us at Criteria
                     Case First (https://mail.google.com/mail/?view=cm&fs=1&tf=1&to=info@criteriafirst.com&su=I'd
                            2:21-cv-00345-JRG-RSP        Document 24-29 Filed 12/03/21 Page 15 of 29 PageID #: like to know more
                                                                     675
                                          about AvidOffice hosting) or just call us at 972-492-4428.



                      Criteria First teams up with HelpSystems to sell and implement Automate RPA
There are three levels of product offerings for small business, mid-size, and large enterprises to meet your needs. We have information on
this on our CriteriaFirstWare (https://www.criteriafirstware.com/help-systems-automate-c47/) site to introduce you to the scalable
implementations you can choose from. HelpSystems has specialized in this area for a long time and are highly regarded by independent
professional reviewers as well as their customers. We'd like to help you implement RPA and save you time and money.

Here are some independent user reviews (https://www.g2.com/products/automate-robotic-process-automation/reviews) of Automate
                                                          RPA.

                                                               (/index.php/14-services/110-does-your-organization-need-rpa)




                           Our ABBYY FlexiCapture for Invoices customization video on YouTube
This overview gives you a peek under the hood of ABBYY FlexiCapture for Invoices from both a project builder's and a user's point of view.
Two custom features are included which show how you can catch duplicate invoices and invoices which have a total greater than the
amount allowed by the purchase order. Also covered is our interface with Xerox DocuShare using our DAVupDoc middleware for fast
and versatile automated filing. Watch for our video covering how to use DocuShare for approving or rejecting invoices that go over the
amount in the purchase order or have no PO# associated with the invoice.

                                                     (https://www.youtube.com/watch?v=5xluo-wskqA&t=642s)




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                     Case 2:21-cv-00345-JRG-RSP           feature in DocuShare 7.5 (/index.php/18-newsletters/118-cf-
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                                                               newsletter-2021-11)

                                   ABBYY FineReader PDF Deal of the Year (/index.php/18-newsletters/118-cf-newsletter-
                                                                      2021-11)

                                    HelpSystems acquires PhishLab (/index.php/18-newsletters/118-cf-newsletter-2021-11)

                                   Has KM been supplanted by RPA? (/index.php/18-newsletters/118-cf-newsletter-2021-11)

                                    New Xerox production scanners (/index.php/18-newsletters/118-cf-newsletter-2021-11)




                                                             Sign up to receive our newsletters
                                    (http://dev.avidoffice.com:99/lfserver/Sign_up_for_the_Criteria_First_newsletter)




                Do you really need a document management system? (/index.php/11-collaborate/15-dms-need)




                                                (https://youtu.be/PIsju1cnQM4)                                    (/index.php/11-collaborate/15-dms-need)




                              For further information please contact us (https://mail.google.com/mail/?
                  view=cm&fs=1&tf=1&to=info@criteriafirst.com&su=Please%20tell%20me%20more%20about%20...).

          Write to set a time to talk and see a presentation tailored to your specific needs. (https://mail.google.com/mail/?
view=cm&fs=1&tf=1&to=info@criteriafirst.com&su=I%20would%20like%20to%20discuss%20our%20document%20/%20content%20ma
                                     nagement%20needs%20%28include%20contact%20info%29)


 You are here: Home (/index.php)       Newsletters (/index.php/18-newsletters)    CF Newsletter 2021-05


 Key Articles                                                                                                                          Exhibit 29
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  CF Newsletter 2021-10
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  CF Newsletter 2021-09 (/index.php/18-newsletters/116-cf-newsletter-2021-09)
  CF Newsletter 2021-08 (/index.php/18-newsletters/115-cf-newsletter-2021-08)
  CF Newsletter 2021-06 (/index.php/18-newsletters/114-cf-newsletter-2021-06)
  CF Newsletter 2021-05 (/index.php/18-newsletters/113-cf-newsletter-2021-05)
  CF Newsletter 2021-03 (/index.php/18-newsletters/111-cf-newsletter-2021-03)
  Does your organization need RPA? (/index.php/14-services/110-does-your-organization-need-rpa)
  CF Newsletter 2021-02 (/index.php/18-newsletters/109-cf-newsletter-2021-02)
  CF Newsletter 2021-01 (/index.php/18-newsletters/108-cf-newsletter-2021-01)
  CF Newsletter 2020-12 (/index.php/18-newsletters/107-cf-newsletter-2020-12)
  DocuShare 7.5 Workflow Reporting (/index.php/14-services/106-docushare-7-5-workflow-reporting)
  DocuShareInfo - check the health of your DocuShare (/index.php/14-services/89-docushareinfo-check-the-health-of-your-docushare)
  Two Powerful Capture and Indexing Options for DocuShare (/index.php/8-capture/82-two-powerful-capture-and-indexing-options-for-docushare)
  Automate your paper and digital workflows to improve productivity and information access (/index.php/18-newsletters/30-fc-ds-invoice-automation)
  Empowering Secure Managed Care Facilities (/index.php/8-capture/21-empowering-secure-managed-care-facilities)
  DocuShare OCR Crawler (/index.php/9-convert/16-docushare-ocr-crawler)
  Data Extraction for Oil & Gas Firms (/index.php/8-capture/13-data-extraction-for-oil-gas-firms)




Certified Partner




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                                                           Demonstrations & Webinars
We're looking forward to meeting with you to discuss problems you're facing in moving documents and data through your organization in the most efficient way
possible. Once we have a clear idea of your requirements and desirements and determine we are in a position to help you, we can show you how we can meet
your needs with our best of breed products and services. We have some generic demonstrations that show how certain capabilities can meet your needs that may
suffice along with an examination of your documents, data, and processes. Sometimes we feel it's best to demonstrate a potential solution using your documents.
All this requires open and honest discussions throughout the consulting and implementation process. We encourage you to engage with us by introducing yourself
or looking at some of our videos, documentation, or just contacting us to talk.



                                          Our ABBYY FlexiCapture for Invoices video on YouTube
This overview gives you a peek under the hood of ABBYY FlexiCapture for Invoices from both a project builder's and a user's point of view. Two custom features
are included which show how you can catch duplicate invoices and invoices which have a total greater than the amount allowed by the purchase order. Also
covered is our interface with Xerox DocuShare using our DAVupDoc middleware for fast and versatile automated filing. Watch for our video covering how to use
DocuShare for approving or rejecting invoices that go over the amount in the purchase order or have no PO# associated with the invoice.

                                                             (https://www.youtube.com/watch?v=5xluo-wskqA&t=642s)




                                                                       Come and see ...                                                   Exhibit 29
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                                                                  680ABBYY FlexiCapture for Invoices
                                     Accounts Payable Automation with
                                                 (http://dev.avidoffice.com:99/lfserver/FCI_Interest)
                                              Request for white paper with option to see a demonstration.



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                                                                                  (/)




FAQ&A

If you want to see another definition added, please drop us a note at info@criteriafirst.com (https://mail.google.com/mail/?
view=cm&fs=1&tf=1&to=info@criteriafirst.com&su=Please add a definition for ...)
                                                                                                                                                             8
A Document Management System (DMS) allows users to store documents in a centralized repository for secure access by other users and groups who can
contribute to the content and possibly revise it so that the information contained within the documents evolves. A DMS also accommodate many other file types
aside from revisable documents and includes Acrobat PDF, image files, computer code, executable files, and other types. A DMS can also provide an environment
for workflow software to drive processes involving updating documents and submitting them for additional processing. Many modern DMSs can also provide social
networking and collaboration tools bound together by a common search engine with the documents that are indexed for quick search and retrieval. Some DMSs
are referred to as content management systems because they provide these collaborative capabilities common to Content Management Systems and because
they accommodate more than just documents.

A Content Management System (CMS) is typically used for building websites and allows additional modules for collaboration, e-commerce, and other
functionality to make the content presentable to the user base. They provide built-in editors for adding content such as newsletters, the company's profile and
purpose, product information, and services.

Data Capture is a set of methodologies to extract discrete data from other files or from scanned images of documents. Such extracted data can be fed into
databases, spreadsheets, simple data files, and XML formats. The software may also use an API to interface directly with another system for optimum integration.
The captured data can also be used to automatically file documents in Document Management Systems along with metadata to classify the documents make them
more surgically searchable.

Document Conversion used to refer to the translation of documents from one revisable format to another more often than it does today. Document conversion
today is usually associated with converting scanned documents into searchable PDFs or revisable documents and spreadsheets. This is done using workstation or
server-based OCR products which can be used by an individual or shared among many in an organization.
                                                                                                                                                Exhibit 29
Classification refers to identifying various kinds of documents and labeling them as such using metadata or filing methodologies. It is often used to
                                                                                                                                            :Page   20direct
                                                                                                                                                        of 28a
 document into a specific Case
                          process2:21-cv-00345-JRG-RSP
                                  for extraction of data or for automated filing. It24-29
                                                                    Document         can alsoFiled
                                                                                              be used for a dynamic
                                                                                                   12/03/21     Pagedisplays
                                                                                                                       22 ofof29
                                                                                                                               a list of documents.
                                                                                                                                  PageID     #:
                                                                                 682
 Robotic Process Automation (RPA) is a way to streamline your operations and save money doing routine operations. RPA is offered as developer studios that
 look like a programmer's development environment, but provides an interface that requires less skill to develop the agents that perform the defined sets of tasks to
 accomplish routine tasks. It takes less time to roll out an RPA solution than it would likely take for a good programmer to write, test, and deliver a unique set of
 programs to get the same results. RPA allows incorporating logical decision branching and many other workflow functions resulting in faster processing and
 inclusion of input from others that need to add their expertise to the process.
 To determine if you need RPA, get up and walk around to see who's working while wearing a headset as an indication that they're doing mundane, routine work
 that doesn't require much thought or attention. The bright side is by replacing those operations with RPA it allows you to reassign your employees to focus on
 more customer-centric work that would contribute more to your company's profit line.

 Scanner speed ratings are generally referred to as PPM and IPM. I'm not sure who came up with this, but it's misleading. PPM means Pages Per Minute which
 refers to one-sided or simplex scanning. IPM means Images Per Minute referring to two-sided or duplex scanning. The problem is a page is one side of a sheet of
 paper and equates to one image while IPM could mean the same thing. This should be referred to as simplex or duplex scanning, but the industry is stuck with
 these terms. IPM is typically 2X PPM for scanners that image both sides of a sheet at the same time. Copiers or Multi-Function Devices (MFDs) generally scan
 one side and roll the paper over to scan the other side and are significantly slower than dedicated scanners.

 Metadata is information about something (or someone) for the purpose of classifying, describing, defining, or making the object more accessible. Invoices are
 typically stored in properties or fields with additional information to make them easier to find and retrieve whether by a person or a program. The metadata for an
 invoice may include the company name, the vendor ID, the purchase order number, the amount, the date payment is due, the terms of payment, etc.. It's not
 necessary to associate all metadata everywhere. This sometimes exists partially in one system, such as an accounting or ERP (Enterprise Resource Planning)
 system and in a document management system.




    You are here: Home (/index.php)        FAQ&A


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      Search




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Kudos




   Responsive




Following is a brief overview of our services. Call so we can elaborate and discuss your needs.

Collaborative Communities of Practice
Get your knowledge workers to stop reinventing the wheel. Build overlapping communities of practice in which individuals can benefit from
the work of others within the organization. Collaborate with your partners and preferred customers. Unite them with notification of new
content in areas of individual interest. Collaborate more effectively on projects.

Data Capture
We can help you capture data from various mediums and resources such as paper and PDFs you download or receive as email attachments.
We can find the information in the document, capture it, let you verify or correct it, and export it to CSV, XML, spreadsheets, databases, or
any other unique format you require including QuickBooks and other accounting systems. We export clean, valid data so you don't need
another step to cleanse it.                                                                                                     Exhibit 29
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Document Conversion   Case 2:21-cv-00345-JRG-RSP Document 24-29 Filed 12/03/21 Page 24 of 29 PageID #:
                                                                      684 documents, Excel spreadsheets, or searchable PDFs to archive for
Bring us your tired old pages and we'll convert them into reviseable Word
instant recall with metadata for surgical search results.

Document Management
We can set up a comprehensive document management system that allows you to start small and scale to accommodate and empower your
enterprise with the knowledge they need. We can also help you scan and index your hardcopy documentation for electronic archival and
retrieval. We automate the filing process to reduce manual steps and speed up the process.

Process Improvement
We will examine your current business processes and recommend improved processes based on workflow capabilities built into our various
products, tools, and services. Reducing time-consuming, tedious processes allow your employees to focus on activities crucial to delivering
better products and services that contribute to your bottom line.

Form and Templates
Let us create the forms you need in a manner that can be utilized with efficient data capture tools to speed your ability to bring data to your
spreadsheets and databases.

Xerox DocuShare Customization
We have extensive capabilities to bring a new look and new functions to your existing Xerox DocuShare site. Contact us with your needs and
ideas.




Others we recommend ...

Publication Printing (http://www.pubprinting.com)
Quality print, quickly sent with less money spent.

This is a talented, high-quality print shop that actually backs up to the post office for fast delivery - just a short trip down the ramp. You'll appreciate their expertise
and customer service. Don't order flimsy business cards from others, get quality cards you're proud to hand to customers and partners. Visit their site for a
complete list of products and services.


  You are here: Home (/index.php)          Services




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     Certified Partner




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      Search ...

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   Archival preserves knowledge from the past.
   Cunieform writing with a stylus in mud baked 6000 years ago.




Best-value products for your organization
If you've ever researched products extensively, you'll also know the old maxim, "you get what you pay for" isn't generally true. There are good values everywhere if
you take the time to look, compare, and evaluate. The products selected featured on this page have helped many organizations build collaborative communities of
practice that connect people to their content and to one another. These best value solutions have been selected to streamline processes and reduce your cost of
operations.

Xerox DocuShare 7.5 (https://www.criteriafirstware.com/Xerox-DocuShare-c7/)
                                                                                                                                              Exhibit 29
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The most cost-effective and
                         Casescalable solution available letting youDocument
                                 2:21-cv-00345-JRG-RSP              start with document
                                                                                 24-29 archival
                                                                                         Filed and workgroup
                                                                                                12/03/21     collaboration
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to enterprise with one server or several federated servers. The CPX edition adds process automation and other capabilities beyond the advanced document
management capabilities of the Core edition. Runs on Windows, Linux, and Solaris Unix.

DocuShare Editions Comparison Chart (/library/DocuShare_Editions_Comparison_Chart.pdf)



HelpSystems Automate Desktop, Plus, and Ultimate Editions (https://www.criteriafirstware.com/help-
systems-automate-c47/)
Robotic Process Automation (RPA) allows you to look at those mundane, routine, migraine-inducing responsibilities and question whether there is a way for
software to take over and perform those operations for you. This frees those doing such functions the ability to work in more beneficial and satisfying ways and
increase their value to your organization. We have three products that can scale incrementally from one to the next as you find more routines for RPA to perform
for you helping your business to grow.



ABBYY FlexiCapture / FlexiLayout (http://www.criteriafirstware.com/ABBYY-Recognition-Products/ABBYY-
FlexiCapture-10-Distributed-Fixed-Form-Only-edition-with-Admin-Station-design-tools-120K-PPY-with-1-year-
MUA-p36.html)
Capture information from forms and documents to feed into your databases and/or to use in automatically filing your documents where they belong by using
DAVupDoc. FlexiCapture is used for invoices and orders and many various types of documents. The FlexiLayout Studio allows you (or us) to create dynamic
templates that seek out the information in your documents you want to extract. You then just verify the captured words and numbers that FlexiCaptures determines
to be uncertain and presents them to you for correction, if necessary. FlexiCapture reads various kinds of print including dot matrix and handprint along with
barcodes, bubbles, and checkboxes.



ABBYY FlexiCapture for Invoices (http://www.criteriafirstware.com/ABBYY-Recognition-
Products/FlexiCapture-for-Invoices-p415.html)
ABBYY FlexiCapture for Invoices is a ready-to-run accounts payable automation solution that enables companies and organizations across the globe to
dramatically increase the productivity of their AP processes. With its automatic classification and learning where your data is located on poorly formatted
invoices, it supports straight-through processing for PO-based invoices and automatically identifies invoices requiring approval, enabling many processes in
the AP chain to be streamlined. We can assist with an approval workflow in DocuShare for you.

Watch for our video covering how to use DocuShare for approving or rejecting invoices that go over the amount in the purchase order or have no PO# associated
with the invoice.

                                                               (https://www.youtube.com/watch?v=5xluo-wskqA&t=642s)


ABBYY FineReader Server (http://www.criteriafirstware.com/ABBYY-Recognition-Products/ABBYY-
FineReader-Server-14-p446.html)                                                          Exhibit 29
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This could be the perfectCase
                          tool to 2:21-cv-00345-JRG-RSP
                                  convert all your contracts, correspondence,
                                                                    Document   and  other documentation
                                                                                  24-29                 into anPage
                                                                                           Filed 12/03/21       easily 28
                                                                                                                       searchable format that
                                                                                                                          of 29 PageID     #: everyone in your
                                                                                  688
company can use. People and programs can both use the input/output folder set for routinely converting documents or you can email your scans and other images
to it and receive your converted document as an attachment. Other interfaces and connectors exist for websites, FTP servers, SharePoint, and DocuShare (see
DAVupDoc from Criteria First) and a full API for precise control using job tickets. You can convert from scans and image-only PDFs to editable Word and Excel
documents and from MS Office formats to searchable PDFs in fast, scalable batch mode. Some of our customers use the Indexing Station to tag documents to
automate the filing process into DocuShare and other systems. This is a versatile OCR platform that enterprises really suffer without.



DAVupDoc (http://www.criteriafirstware.com/Criteria-First-Products/DAVupDoc-p9.html) © by Criteria First
This the universal document upload program we've created to take information from your data capture and print-to-file software to DocuShare. Information
extracted from your forms, documents, and reports can be used to quickly and easily create a template to determine where your documents are to be archived and
associate all the relevant information as metadata so that it can be used to categorize and retrieve them when you need them. DAVupDoc works with any
document format. A command line interface allows you to process your files in batch mode all day long. A free 15 day trial is available.



DocuPage Pro (http://www.criteriafirstware.com/Criteria-First-Products/DocuPage-Pro-p11.html)© by Criteria First
View your scanned image files and PDFs and enter relevant information about them and select from drop-down lists. Once your documents are "tagged" you can
click on the Proof button to make sure you haven't missed anything, then Send them to DocuShare. Your template indicates how the documents will be named and
where they will be filed. Your information about the document becomes metadata. Expiration dates can be set for later archival. For more information, click on the
product name.



For a complete listing of our product line, see our online store at http://www.criteriafirstware.com (http://www.criteriafirstware.com)

Be sure to view our Services (/index.php/services) page to see how these products can be implemented to increase your productivity.




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